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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
                                                       271 Cadman Plaza East
                                                       Brooklyn, New York 11201

                                                       September 12, 2018
 VIA ECF
 Honorable Vera M. Scanlon
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

                Re:     Kelley Amadei, et al. v. Kirstjen M. Nielsen, et al.
                        Case No.: 17-CV-5967 (Garaufis, J.) (Scanlon, M.J.)

 Dear Judge Scanlon:

         This Office represents the Defendants, in the above-referenced matter. Defendants write
 in response to the Court’s Order dated August 15, 2018, directing the parties to submit a joint letter
 setting forth a deposition schedule outline. See Dkt. No. 48 (Court’s August 15, 2018 Order).

        The parties have agreed on the tentative deposition schedule below:

        Sept. 20, 2018: Dennis Starr, Immigration and Customs Enforcement Officer

        Sept. 27, 2018: Everlyn Pradoguevara, Immigration and Customs Enforcement Officer

        Oct. 2, 2018: Rey Rivera Perez, Customs and Border Protection Officer

        Oct. 4, 2018: Kelley Amadei, Plaintiff

        Oct. 22, 2018: James Bonasoro, Delta Airlines Employee

        Oct. 23, 2018: Bryan Hoffman, Delta Airlines Employee

        Oct. 25, 2018: Martha Shaffer, Delta Airlines Employee

        Oct. 26, 2018: Aimee Walsh, Delta Airlines Employee

        Dec. 4, 2018: Carola Cassaro, Plaintiff

         Defendants regrettably inform the Court that the parties were unable to submit a truly
 “joint” letter, as required by the Court’s Order because the proposed letter, produced to defense
 counsel for the first time earlier today, includes discovery arguments, mischaracterizations, and
 unnecessarily assigns fault for items that have not been fully negotiated. See Dkt. No. 51
 (Plaintiffs’ letter regarding deposition schedule).
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       Accordingly, Defendants respectfully request until tomorrow to provide a response.

                                                   Respectfully submitted,

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 cc:   All counsel of record via ECF




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